Case 2:24-cv-00371-PA-AGR Document 58 Filed 05/20/24 Page 1 of 19 Page ID #:919




   1 PERRY LAW
     E. Danya Perry (admitted pro hac vice)
   2
     dperry@danyaperrylaw.com
   3 Karen Agnifilo (admitted pro hac vice)
     kagnifilo@danyaperrylaw.com
   4
     Joshua Stanton (admitted pro hac vice)
   5 jstanton@danyaperrylaw.com
     445 Park Ave, 7th Floor
   6
     New York, New York 10022
   7 Telephone: (212) 213-3070
     Facsimile: (646) 849-9609
   8
   9 [Additional attorneys are listed on next
  10 page]
  11 Attorneys for Defendants
  12 James Dolan and JD & The Straight
     Shot, LLC
  13
                         UNITED STATES DISTRICT COURT
  14
                        CENTRAL DISTRICT OF CALIFORNIA
  15
                               WESTERN DIVISION
  16
  17
       KELLYE CROFT.                             Case No. 2:24-cv-00371-PA (AGR)
  18
                     Plaintiff,                  REPLY MEMORANDUM IN SUPPORT
  19                                             OF DEFENDANTS JAMES DOLAN
       vs.
  20                                             AND JD & THE STRAIGHT SHOT,
     JAMES DOLAN, HARVEY                         LLC’S MOTION TO DISMISS
  21 WEINSTEIN, JD & THE                         PURSUANT TO FEDERAL RULE OF
     STRAIGHT SHOT, LLC, THE
  22 AZOFF COMPANY HOLDINGS                      CIVIL PROCEDURE 12(b)(6)
     LLC f/k/a AZOFF MUSIC
  23 MANAGEMENT, LLC, THE
     AZOFF COMPANY LLC f/k/a
  24 AZOFF MSG ENTERTAINMENT,                    Date:       June 3, 2024
     LLC, and DOE CORPORATIONS 1-
  25 10,                                         Time:       1:30 p.m.
                                                 Judge:      Hon. Percy Anderson
  26                 Defendants.
  27
  28
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          REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT
          SHOT, LLC’S MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 58 Filed 05/20/24 Page 2 of 19 Page ID #:920




   1 KENDALL BRILL & KELLY LLP
     Robert E. Dugdale (167258)
   2
     rdugdale@kbkfirm.com
   3 Michael J. McCarthy (334829)
     mmccarthy@kbkfirm.com
   4
     10100 Santa Monica Blvd., Suite 1725
   5 Los Angeles, California 90067
     Telephone: (310) 556-2700
   6
     Facsimile: (310) 556-2705
   7
     ROSENBERG, GIGER & PERALA, P.C.
   8 John J. Rosenberg (admitted pro hac vice)
   9 jrosenberg@rglawpc.com
     152 West 57th Street, 18th Floor
  10 New York, New York 10019
  11 Telephone: (646) 494-5000
     Facsimile: (646) 595-0590
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          REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT
          SHOT, LLC’S MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 58 Filed 05/20/24 Page 3 of 19 Page ID #:921




   1                                            TABLE OF CONTENTS
                                                                                                                        Page
   2
       I.        PRELIMINARY STATEMENT ....................................................................... 1
   3
       II.       ARGUMENT .................................................................................................... 1
   4
                 A.       The FAC Fails to State a Claim Under the TVPA.................................. 1
   5
                          1.       The FAC Fails to State a Perpetrator Claim ................................. 1
   6
                                   a.       The FAC Does Not Allege a Commercial Sex Act ........... 1
   7
                                   b.       The FAC Does Not Allege the Dolan Defendants’
   8                                        Knowledge of Force, Fraud, or Coercion........................... 2
   9                      2.       The FAC Fails to State a TVPA Beneficiary Claim .................... 4
  10             B.       The FAC Fails to State a Claim for Sexual Battery................................ 5
  11             C.       The FAC Fails to State a Claim Against Dolan for Aiding and
                          Abetting Defendant Weinstein ................................................................ 8
  12
                          1.       The FAC Fails to Adequately Allege the Elements of
  13                               “Aiding and Abetting” Liability ................................................... 8
  14                      2.       Plaintiff’s Aiding and Abetting Claim is Barred by the
                                   Channeling Injunction and Release Entered in The
  15                               Weinstein Company’s Bankruptcy Proceeding .......................... 10
  16 III.        CONCLUSION ............................................................................................... 12
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
       604409374.1                                                 i
             REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT
             SHOT, LLC’S MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 58 Filed 05/20/24 Page 4 of 19 Page ID #:922




   1                                        TABLE OF AUTHORITIES
   2                                                                                                           Page(s)
   3
       Federal Cases
   4
       B.J. v. G6 Hosp., LLC,
   5      2023 WL 3569979 (N.D. Cal. May 19, 2023) ..................................................... 4
   6
     Chemetron Corp. v. Jones,
   7   72 F.3d 341 (3d Cir. 1995) ........................................................................... 11, 12
   8 DePippo v. Kmart Corp.,
   9   335 B.R. 290 (S.D.N.Y. 2005) ..................................................................... 11, 12
  10 Doe v. Fitzgerald,
       2022 WL 425016 (C.D. Cal. Jan. 6, 2022) ................................................... 4, 5, 6
  11
  12 Eckhart v. Fox News Network, LLC,
         2021 WL 4124616 (S.D.N.Y. Sept. 9, 2021) ....................................................... 2
  13
  14 In re First All. Mortg. Co.,
         471 F.3d 977 (9th Cir. 2006) ................................................................................ 8
  15
     Geiss v. Weinstein Co. Holdings LLC,
  16     383 F. Supp. 3d 156 (S.D.N.Y. 2019) .................................................................. 5
  17
     Lombardo v. Hillburg,
  18     2018 WL 6977473 (C.D. Cal. Dec. 3, 2018)........................................................ 7
  19 Lusk v. Vill. of Cold Spring,
  20    2007 U.S. App. LEXIS 3590 (2d Cir. 2007) ...................................................... 10
  21 Ma v. Ashcroft,
  22   361 F.3d 553 (9th Cir. 2004) ................................................................................ 2

  23 Neilson v. Union Bank of Cal.,
        290 F. Supp. 2d 1101 (C.D. Cal. 2003) ................................................................ 8
  24
  25 Russo v. v. APL Marine Serv., Ltd.,
        2014 WL 3506009 (C.D. Cal. July 14, 2014) ...................................................... 6
  26
     So v. Bay Area Rapid Transit,
  27    2013 U.S. Dist. LEXIS 149807 (N.D. Cal. Oct. 17, 2013) .................................. 9
  28
       604409374.1                                              ii
           REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT
           SHOT, LLC’S MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 58 Filed 05/20/24 Page 5 of 19 Page ID #:923




   1 United States v. Soderling,
       1992 U.S. App. LEXIS 15827 (9th Cir. 1992) ................................................... 11
   2
   3 United States v. Taylor,
       18-cr-88-DWF-ECW, Doc No. 189 (D. Minn. July 26, 2019) ............................ 3
   4
     United States v. Taylor,
   5
       44 F.4th 779 (8th Cir. 2022) ................................................................................. 3
   6
     United States v. Todd,
   7   627 F.3d 329 (9th Cir. 2010) ................................................................................ 2
   8
     United States v. United Mine Workers of Am.,
   9   330 U.S. 258 (1947) ........................................................................................... 10
  10 Zapon v. United States Dep’t of Justice,
  11   53 F.3d 283 (9th Cir. 1995) ................................................................................ 11
  12 California Cases
  13 Angie M. v. Superior Ct.,
  14   37 Cal. App. 4th 1217 (1995) ............................................................................... 5
  15 Casey v. U.S. Bank Nat. Ass’n,
  16   127 Cal. App. 4th 1138 (2005) ......................................................................... 8, 9

  17 Federal Statutes
  18 18 U.S.C. § 1591.................................................................................................... 3, 4
  19 California Statutes
  20
     Cal. Civ. Proc. Code § 340.16 ................................................................................... 7
  21
  22
  23
  24
  25
  26
  27
  28
        604409374.1                                               iii
           REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT
           SHOT, LLC’S MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 58 Filed 05/20/24 Page 6 of 19 Page ID #:924




   1                 REPLY MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.         PRELIMINARY STATEMENT
   3            As Defendants James Dolan (“Dolan”) and JD & The Straight Shot, LLC
   4 (“JDSS”) (collectively, the “Dolan Defendants”) have repeatedly stated, Plaintiff’s
   5 fantastical allegations against them are categorically and demonstrably false. But the
   6 Dolan Defendants expose a different failing in their Motion to Dismiss (“MTD”):
   7 Plaintiff’s claims rely on a legally baseless theory of liability-by-association, and her
   8 allegations are plainly insufficient to state a claim. None of the arguments in
   9 Plaintiff’s Opposition change this conclusion. Moreover, it is deeply troubling that
  10 Plaintiff presses forward with her aiding and abetting claim, given that it is in direct
  11 contravention of a federal court order. For the reasons stated herein and in the MTD,
  12 Plaintiff’s claims against the Dolan Defendants should be dismissed.
  13 II.        ARGUMENT
  14            A.     The FAC Fails to State a Claim Under the TVPA
  15                   1.   The FAC Fails to State a Perpetrator Claim
  16            The FAC fails to allege (a) a commercial sex act, or (b) that the Dolan
  17 Defendants knew that force, fraud, or coercion would cause Plaintiff to engage in a
  18 commercial sex act. As both are essential elements under the TVPA, each deficiency
  19 is independently fatal to her claim.
  20                        a.     The FAC Does Not Allege a Commercial Sex Act
  21            According to Plaintiff, her allegations that the Dolan Defendants paid for her
  22 flight to and accommodations in Los Angeles and that the Azoff Entities “paid her for
  23 working on the Eagles tour” suffice to make out the “commercial sex act” element of
  24 a TVPA claim. (Opp. at 9.) This is flatly wrong.
  25            By Plaintiff’s logic, any sex act that occurs between an employer and an
  26 employee on a work trip is a “commercial sex act.” That is not the law (nor was Dolan
  27 Plaintiff’s employer), and such a reading would expand the TVPA well beyond any
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          REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT
          SHOT, LLC’S MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 58 Filed 05/20/24 Page 7 of 19 Page ID #:925




   1 rational constraints. The principal case Plaintiff cites in support of this unfounded
   2 proposition—Eckhart v. Fox News Network, LLC, 2021 WL 4124616, at *9
   3 (S.D.N.Y. Sept. 9, 2021)—provides her no support. There, the court held that
   4 “pledges of career support qualify as ‘thing[s] of value’ for the purposes of [the
   5 TVPA], even if the promisor does not actually deliver on the promise.” Id. But beyond
   6 Plaintiff’s subjective belief, the FAC does not contain any factual allegations that the
   7 Dolan Defendants (or the Azoff Entities) made any pledges of career support or
   8 similar promises to Plaintiff. Given the absence of such allegations, Plaintiff is
   9 effectively asking the Court to find that a broad swath of quid pro quo sexual
  10 harassment claims equate to felony sex trafficking. (MTD at 8.) That absurd
  11 conclusion should be rejected, particularly as the FAC does not articulate any such
  12 quid pro quo. Ma v. Ashcroft, 361 F.3d 553, 558 (9th Cir. 2004) (“[S]tatutory
  13 interpretations which would produce absurd results are to be avoided”).
  14                         b.    The FAC Does Not Allege the Dolan Defendants’
  15                               Knowledge of Force, Fraud, or Coercion
  16            Plaintiff argues in passing that her (false) allegation that Dolan pressured her
  17 into having intercourse in Florida “establish[ed] that he would use force … to push
  18 Croft into commercial sex acts.” (Opp. at 8.) But the FAC does not allege that Dolan
  19 used or threatened force against Plaintiff in California, or even that he alluded to the
  20 supposed Florida incident. (MTD at 6.) Consequently, the FAC alleges that Dolan
  21 “knew” he would use or threaten force, but then for some reason did not. However,
  22 the knowledge required under the TVPA is—as relevant here—“that if things go as
  23 he has planned, force … will be employed to cause his victim to engage in a
  24 commercial sex transaction.” United States v. Todd, 627 F.3d 329, 334 (9th Cir.
  25 2010). The FAC omits the second component of this knowledge requirement: things
  26 allegedly did go as planned—yet neither force nor threats of force were used. As such,
  27 Plaintiff’s TVPA claim must fail.
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          REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT
          SHOT, LLC’S MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 58 Filed 05/20/24 Page 8 of 19 Page ID #:926




   1            The FAC also does not allege any fraud causing Plaintiff to engage in a
   2 commercial sex act—let alone that the Dolan Defendants engaged in or knew of such
   3 a fraud. Plaintiff argues that the Dolan Defendants used fraud to convince her to be
   4 “transported [] to California” (Opp. at 6), not to compel her to engage in sex acts.
   5 Even if Plaintiff’s invitation to California was somehow fraudulent—and the FAC
   6 does not allege that it was1—the alleged sex acts, all of which occurred on evenings
   7 when no concert took place, are far too attenuated from the “fraud” that supposedly
   8 induced Plaintiff to travel to California.
   9            Regardless, even if Plaintiff’s invitation to California was fraudulent and it
  10 caused Plaintiff to engage in sex acts, she fails to allege that any of the Dolan
  11 Defendants had knowledge that the “fraudulent invite” would produce this causal
  12 sequence, as required by the TVPA. 18 U.S.C. § 1591(a). In United States v. Taylor,
  13 44 F.4th 779 (8th Cir. 2022)—which Plaintiff characterizes as “instructive” (Opp. at
  14 6)—the trial evidence revealed that Taylor had recruited a teenager to perform
  15 massages, having “clearly communicated to potential clients that they could expect
  16 sex acts.” United States v. Taylor, 18-cr-88-DWF-ECW, Doc No. 189 at 47:15–18
  17 (D. Minn. July 26, 2019).2 The FAC does not contain allegations of even remotely
  18 similar conduct, notwithstanding the new allegation that a non-party bandmate of
  19 Dolan’s asked Plaintiff for a “prostate massage” because she “believe[d] that Dolan
  20 … gave the impression to others on the tour that [Plaintiff] was available to provide
  21 sexual services.” (FAC ¶ 67.) Plaintiff does not allege that any sex acts actually
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           Plaintiff claims she was invited to California to perform massages for tour members (Opp.
  23 at 6), and that is precisely what she did in a room reserved for her at the Forum. (FAC ¶ 57).
  24 2
      For one victim, Taylor “took $40 of each client payment,” “purchased lingerie for her to
  25 wear while providing massages,” and told her “she could charge more if she gave nude
     massages.” Taylor, 44 F.4th at 783–84. In short, Taylor deceived a teenager into thinking
  26 she was being hired to perform legitimate massages while knowing he intended to prostitute
  27 her via online advertisements for profit—a textbook example of sex trafficking.
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            REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT
            SHOT, LLC’S MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 58 Filed 05/20/24 Page 9 of 19 Page ID #:927




   1 resulted from Dolan’s supposed suggestion.
   2            Finally, and even less convincingly, Plaintiff argues that the FAC plausibly
   3 alleges that she was coerced into engaging in a commercial sex act because she was
   4 “too scared” of losing her job “with the Eagles to reject Dolan’s advances.” (Opp. at
   5 8).3 Plaintiff cites no case to suggest such a generalized fear is sufficient. Nor could
   6 she, as coercion under the TVPA is limited to threats of serious harm, physical
   7 restraint, or the abuse of law or the legal process, none of which are alleged. 18 U.S.C.
   8 § 1591(e)(2). In short, Plaintiff’s coercion theory fails for the same reason she has not
   9 plausibly alleged a commercial sex act at all: defining the purported fear of losing a
  10 job as “coercion” under the TVPA would convert prototypical (albeit repugnant)
  11 workplace sexual harassment into a serious federal sex trafficking felony. That is
  12 simply not the case.
  13                   2.     The FAC Fails to State a TVPA Beneficiary Claim
  14            Plaintiff’s beneficiary claim fails because Plaintiff does not allege any of the
  15 necessary elements: that the defendants “(1) knowingly benefitted (2) from
  16 participation in a venture (3) that they knew or should have known has engaged in
  17 trafficking the plaintiff.” B.J. v. G6 Hosp., LLC, 2023 WL 3569979, at *3 (N.D. Cal.
  18 May 19, 2023) (citations and quotations omitted).
  19            As to Dolan, Plaintiff argues that his sexual gratification was the benefit. (Opp.
  20 at 10.) But, apart from disagreeing with the ruling in Doe v. Fitzgerald, 2022 WL
  21 425016, at *9 (C.D. Cal. Jan. 6, 2022), Plaintiff offers little argument on this point
  22 other than noting courts outside this district and circuit have held otherwise. As to
  23 JDSS, Plaintiff makes the unfounded, conclusory assertion it benefited because
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           Plaintiff alleges that she acted out of a fear that not engaging in sex with Mr. Dolan “would
  26 jeopardize her work with the Eagles and future opportunities to serve as a Licensed Massage
  27 Therapist for professional musicians.” (FAC ¶ 62.)
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            REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT
            SHOT, LLC’S MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 58 Filed 05/20/24 Page 10 of 19 Page ID #:928




    1 “Dolan sought to make Croft available for sexual services to his bandmates.” (Opp.
    2 at 11.) But the FAC contains no facts to support this theory—only the conclusory
    3 allegation that she “believe[d] that Dolan also gave the impression to others on the
    4 tour that Ms. Croft was available to provide sexual services.” (FAC ¶ 67.) Moreover,
    5 even if Plaintiff had plausibly pleaded this theory, it would still be deficient because
    6 the only “benefit” to JDSS would be the (unrealized) possibility of sexual gratification
    7 to band members, which, as noted above, is not a “benefit” under the TVPA.
    8 Fitzgerald, 2022 WL 425016, at *9; Geiss v. Weinstein Co. Holdings LLC, 383 F.
    9 Supp. 3d 156, 170 (S.D.N.Y. 2019) (the “benefit” must be more than sexual
  10 gratification of a defendant corporation’s employee).
  11            Furthermore, Plaintiff’s allegations concerning the existence of a venture are
  12 deficient, for the reasons stated in the Memorandum Supporting the Azoff Entities’
  13 Motion to Dismiss. Doc No. 51 at 9–11. And, for the reasons stated in Section II.A.1.a,
  14 supra, the FAC also fails to plausibly allege that Plaintiff was trafficked, and the
  15 Dolan Defendants plainly cannot have known what is not alleged to have occurred.
  16            B.    The FAC Fails to State a Claim for Sexual Battery
  17            In order to sufficiently allege that Dolan possessed the requisite intent to
  18 commit sexual battery, Plaintiff must allege facts showing she did not consent, and
  19 Dolan was aware she did not consent, to sexual conduct. Angie M. v. Superior Ct., 37
  20 Cal. App. 4th 1217, 1225 (1995) (holding that Cal. Civ. Code § 1708.5 requires a
  21 plaintiff to plead that sexual conduct alleged was non-consensual). Here, Plaintiff
  22 pleads no facts showing that Dolan knew or should have known his alleged sexual
  23 contact with Plaintiff in California was non-consensual. Instead, Plaintiff summarily
  24 asserts in a single paragraph that, while with Dolan in California, she acceded to
  25 vaguely described “demands” for sex in completely unspecified ways and that her
  26 actions were “neither free nor voluntary” and “against her will,” although that was
  27 not alleged to have been shared or expressed through any words or actions. (FAC
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          REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT
          SHOT, LLC’S MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 58 Filed 05/20/24 Page 11 of 19 Page ID #:929




    1 ¶ 62). Such threadbare allegations inadequately plead that Plaintiff’s alleged sexual
    2 conduct with Dolan occurred without her consent and thus fail to state a claim for
    3 civil sexual battery. Fitzgerald, 2022 WL 425016, at *10 (intent to commit a sexual
    4 battery requires defendants be “aware” that plaintiffs were “acting against their will”
    5 and “knew or should have known that any sexual contact with these Plaintiffs would
    6 offend their sense of personal dignity”); Russo v. v. APL Marine Serv., Ltd., 2014 WL
    7 3506009, at *6 (C.D. Cal. July 14, 2014) (sexual battery claim fails absent allegations
    8 showing an offensive touching occurred after a plaintiff indicated a lack of consent).
    9            Faced with the glaring lack of allegations suggesting that Dolan knew or should
  10 have known that his alleged sexual contact with Plaintiff in California occurred
  11 without her consent, Plaintiff argues that (1) a single alleged incident in Florida
  12 several months before alleviates her obligation to allege the elements of sexual battery
  13 in this jurisdiction (Opp. at 12); and (2) her (unexpressed) lack of consent to engage
  14 in sexual conduct in California should be excused because it was the product of
  15 economic coercion (Opp. at 13). Both of these arguments fail.
  16             As for Plaintiff’s effort to put her conduct in California “in context” through
  17 reference to her earlier interactions with Dolan in Florida, if anything, that “context”
  18 undermines her allegations of lack of consent. In this regard, while Plaintiff alleges
  19 she initially was “adamant” that she was uninterested in a sexual relationship with
  20 Dolan in Florida (but fails to allege she communicated that to Dolan) (FAC ¶ 42), she
  21 admits she ultimately engaged in intercourse with Dolan for a variety of reasons
  22 having nothing to do with Dolan pressuring her, including the purported isolation she
  23 felt due to her job, the flattery she felt due to the attention Dolan showed her, Dolan’s
  24 promises to take care of her, and her recognition that Dolan was a powerful figure.
  25 (FAC ¶ 43). These admitted reasons for “submitting” to Dolan negate, rather than
  26 establish, that the relationship between Plaintiff and Dolan was non-consensual; and,
  27 even if that were not the case, Plaintiff cites no authority for the proposition that a
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           REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT
           SHOT, LLC’S MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 58 Filed 05/20/24 Page 12 of 19 Page ID #:930




    1 one-time objection to sexual contact suffices to demonstrate that any and every sexual
    2 contact thereafter, including later contact in California as unspecified as that alleged
    3 in the FAC, is intentional offensive contact constituting a sexual battery.
    4            Recognizing this fatal flaw, Plaintiff takes a new tack in her Opposition,
    5 asserting that lack of consent is adequately alleged because Dolan “was leveraging
    6 the immense power he held over her to sexually gratify himself.” (Opp. 13–14). But
    7 the lone authority Plaintiff cites in support of this “economic vulnerability” argument,
    8 Lombardo v. Hillburg, 2018 WL 6977473 (C.D. Cal. Dec. 3, 2018), is entirely
    9 inapposite, as—unlike in that case—Plaintiff has failed to plead a single fact asserting
  10 that Dolan did anything to exploit her purported “economic vulnerability” in order to
  11 coerce her into unwanted sexual conduct. She does not allege, for instance, that Dolan
  12 ever threatened her employment (or even that he could have, since he was not her
  13 employer) or implied that her continued employment as the Eagle’s massage therapist
  14 was contingent on submitting to his so-called “sexual demands” when she voluntarily
  15 re-joined the band’s tour in 2014, after the alleged incident in Florida.
  16             Plaintiff has now twice failed to allege any facts showing that Dolan knew or
  17 should have known that the sexual conduct she only vaguely avers took place in
  18 California was non-consensual in the aftermath of two separate efforts to meet and
  19 confer on the subject. Accordingly, Plaintiff’s civil sexual battery claim should be
  20 dismissed with prejudice.4
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  23    4
         For the same reasons set forth above, Plaintiff’s sexual battery claim is also time-barred.
        As Plaintiff concedes, her sexual battery claim can only survive through the application of
  24
        California’s Revival Statute, which only applies to civil claims that qualify as crimes. Cal.
  25    Civ. Proc. Code § 340.16(b)(1). Here, Plaintiff’s deficient allegations fall well short of
        pleading conduct that qualifies as a crime under California Penal Code § 243(e)(1). The
  26    Revival Statute is thus inapplicable, and Plaintiff’s 10-year-old sexual battery claim is
  27    barred by California’s two-year statute of limitations.

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            REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT
            SHOT, LLC’S MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 58 Filed 05/20/24 Page 13 of 19 Page ID #:931




    1            C.    The FAC Fails to State a Claim Against Dolan for Aiding and
    2                  Abetting Defendant Weinstein5
    3            Plaintiff’s aiding and abetting claim is subject to dismissal for two reasons: (1)
    4 the FAC’s allegations of “knowledge” and “substantial assistance” are inadequate to
    5 plead aiding and abetting liability against Dolan for Weinstein’s alleged acts, and (2)
    6 Plaintiff’s claims are barred by the Channeling Injunction and Release entered by the
    7 Bankruptcy Court in In re The Weinstein Company Holdings LLC., No. 18-10601-
    8 MFW (the “TWC Bankruptcy”). (See MTD at 14-20.)
    9                  1.     The FAC Fails to Adequately Allege the Elements
  10                          of “Aiding and Abetting” Liability
  11             As Plaintiff acknowledges (Opp. at 15, 17), aiding and abetting requires that
  12 “the defendant had actual knowledge of the specific primary wrong” and
  13 “substantially assisted” in carrying out that wrong. Casey v. U.S. Bank Nat. Ass’n,
  14 127 Cal. App. 4th 1138, 1145 (2005). The FAC fails as a matter of law to allege either
  15 knowledge or substantial assistance.
  16             Plaintiff counters that she may allege knowledge “generally” and “through
  17 inference.” (Opp. at 15.) But that does not “relieve [Plaintiff] of the burden of alleging
  18 the nature of the knowledge” purportedly possessed—i.e., “actual knowledge of the
  19 primary violation.” Neilson v. Union Bank of Cal., 290 F. Supp. 2d 1101, 1119 (C.D.
  20 Cal. 2003). This requires more than a “vague suspicion of wrongdoing,” In re First
  21 All. Mortg. Co., 471 F.3d 977, 993 n.4 (9th Cir. 2006); rather, Plaintiff must allege
  22
  23
  24    5
      While the Dolan Defendants anticipate that argument on the TVPA and battery claims
  25 will be presented by lead counsel E. Danya Perry, they intend—subject, of course, to the
     Court’s approval—to have argument on the aiding and abetting claim presented by co-
  26 counsel John Rosenberg, who represented Mr. Dolan in the TWC Bankruptcy proceedings
  27 and thus has particular knowledge of the Channeling Injunction and Release.
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            REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS JAMES DOLAN AND JD & THE STRAIGHT
            SHOT, LLC’S MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
Case 2:24-cv-00371-PA-AGR Document 58 Filed 05/20/24 Page 14 of 19 Page ID #:932




    1 that Dolan made a “conscious decision to participate” in Weinstein’s alleged
    2 “wrongful act.” Casey, 127 Cal. App. 4th at 1146 (emphasis in original).
    3            Plaintiff does not come close to meeting this threshold requirement. First, her
    4 conclusory allegation that Dolan acted with “knowledge . . . or with reckless
    5 disregard” (FAC ¶ 131) (1) does not plead actual knowledge (and recklessness is not
    6 actual knowledge); and (2) does not attempt to tie that knowledge to any specific
    7 wrongful act. Second, Plaintiff’s factual allegations do not give rise to a plausible
    8 inference that Dolan knew of and made a “conscious decision” to participate in
    9 Weinstein’s alleged assault. Plaintiff alleges, at most, that Dolan somehow
  10 “orchestrated” Plaintiff running into Weinstein in a public hotel lobby while harboring
  11 vague concerns that Weinstein was a “troubled person” with “serious issues.” (FAC
  12 ¶¶ 11, 99.) This falls far short of alleging actual knowledge of a specific, planned
  13 sexual assault.6
  14             Plaintiff also utterly fails to allege that Dolan “substantially assisted” in
  15 Weinstein’s alleged sexual assault. To satisfy that requirement, Plaintiff must plead
  16 that Dolan “acted to aid the primary tortfeasor ‘with knowledge of the object to be
  17 attained.’” Casey, 127 Cal. App. 4th at 1146 (quoting Lomita Land & Water Co. v.
  18 Robinson, 154 Cal. 36, 47 (1908)); see also So v. Bay Area Rapid Transit, 2013 U.S.
  19 Dist. LEXIS 149807, at *44 (N.D. Cal. Oct. 17, 2013) (same). Plaintiff asks the Court
  20 to infer (1) that Dolan knew and then “informed Weinstein . . . when she would return
  21 to the hotel” and (2) that Dolan had “conversations” with Weinstein that encouraged
  22 him to believe Croft “was sexually available.” (Opp. at 18.) But the FAC does not
  23 include any factual allegations to support such inferences—or the further inference
  24
        6
  25  Indeed, Plaintiff’s allegations actually undermine any such inference. She alleges that
     Dolan called Plaintiff’s hotel room “in the midst of the assault” and thereby thwarted
  26 Weinstein’s wrongful act: “After hearing her speak to Dolan, Weinstein backed off of Ms.
  27 Croft.” (FAC ¶¶ 94–96.)
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Case 2:24-cv-00371-PA-AGR Document 58 Filed 05/20/24 Page 15 of 19 Page ID #:933




    1 (which she does not even argue) that Dolan went even further to actually encourage
    2 sexual violence. Plaintiff does not allege a single conversation between Dolan and
    3 Weinstein or that Dolan somehow knew when Plaintiff would return to the hotel and
    4 how he gained such knowledge. Essentially, Plaintiff asks the Court to infer that
    5 Dolan acted to connect Plaintiff and Weinstein for the specific purpose of facilitating
    6 Weinstein’s alleged sexual assault based on nothing more than an alleged lobby
    7 meeting between Plaintiff and Weinstein and the fact that Dolan and Weinstein were
    8 friends staying in the same hotel. This falls woefully short of adequately pleading
    9 “substantial assistance.”
  10                  2.    Plaintiff’s Aiding and Abetting Claim is Barred by the
  11                        Channeling Injunction and Release Entered in The
  12                        Weinstein Company’s Bankruptcy Proceeding
  13            Even if Plaintiff had adequately stated an aiding and abetting claim, it would
  14 nonetheless be barred by the Channeling Injunction and Release entered in the TWC
  15 Bankruptcy. (See MTD at 18-19.) Plaintiff does not contest, and thus admits, that her
  16 aiding and abetting claim violates the Channeling Injunction and Release. Instead, she
  17 seeks to justify her willful violation of the Bankruptcy Court’s order by collaterally
  18 attacking the Release (but, conspicuously, not the Channeling Injunction): she (1)
  19 muses about the “enforceability of the TWC bankruptcy release” in light of a pending
  20 Supreme Court case concerning a purportedly similar release (Opp. at 19); and (2)
  21 asserts that applying the release would “violate [her] Fifth Amendment right to due
  22 process,” as she allegedly did not receive adequate prior notice. (Opp. at 20.) These
  23 arguments are entirely meritless.
  24            Under settled law, Plaintiff is not excused from complying with a duly entered
  25 federal court injunction, even if she contends that it is void, improper, or
  26 unconstitutional. “[A]n order issued by a court with jurisdiction over the subject
  27 matter and person must be obeyed by the parties until it is reversed by orderly and
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Case 2:24-cv-00371-PA-AGR Document 58 Filed 05/20/24 Page 16 of 19 Page ID #:934




    1 proper proceedings.” United States v. United Mine Workers of Am., 330 U.S. 258, 293
    2 (1947); see also Lusk v. Vill. of Cold Spring, 2007 U.S. App. LEXIS 3590, at *20 n.6
    3 (2d Cir. 2007) (an injunction “must ordinarily be obeyed on pain of contempt, even if
    4 it ‘cannot withstand the mildest breeze emanating from the Constitution.’”); Zapon v.
    5 United States Dep’t of Justice, 53 F.3d 283, 285 (9th Cir. 1995) (“obedience to even
    6 an assertedly void (not merely voidable) order is required unless and until it has been
    7 vacated or reversed”). This well-established rule binds litigants “even if they have
    8 proper grounds to object to the order.” United States v. Soderling, 1992 U.S. App.
    9 LEXIS 15827, at *2 (9th Cir. 1992). Thus, Plaintiff’s arguments are unavailing, and
  10 she may not pursue her aiding and abetting claim in violation of the Channeling
  11 Injunction, as it has not been “reversed by orderly and proper proceedings.”7
  12            While the foregoing is entirely dispositive of Plaintiff’s aiding and abetting
  13 claim—and the Court need not consider her arguments against enforcement of the
  14 Channeling Injunction and Release—Plaintiff’s attempt to avoid application of the
  15 Release on due process grounds is meritless. Plaintiff baselessly argues that due
  16 process required TWC to provide her with “actual notice” of its Bankruptcy Plan, as
  17 her “identity as a potential creditor” was “reasonably ascertainable by TWC, through
  18 Dolan.” (Opp. at 20.) To the contrary, during the TWC Bankruptcy, plaintiff was, at
  19 best, an “unknown creditor” for whom “publication notice . . . is adequate constructive
  20 notice sufficient to satisfy due process.” DePippo v. Kmart Corp., 335 B.R. 290, 297
  21 (S.D.N.Y. 2005); Chemetron Corp. v. Jones, 72 F.3d 341, 348 (3d Cir. 1995) (for
  22 “unknown creditors, constructive notice of the bar claims date by publication satisfies
  23
       7
       Rather than commence “orderly and proper proceedings” to seek relief from the
  24
     Channeling Injunction, Plaintiff’s counsel, who had full knowledge of the injunction,
  25 ignored the injunction by filing the original Complaint, and Plaintiff did the same when she
     refiled her aiding and abetting claim in the FAC, despite having received (in the Dolan
  26 Defendants’ MTD) explicit notice that the claim violates the Bankruptcy Court’s order. See
  27 Doc. No. 47, at 19–22.
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Case 2:24-cv-00371-PA-AGR Document 58 Filed 05/20/24 Page 17 of 19 Page ID #:935




    1 the requirements of due process”). At the time the Plan was approved, Plaintiff was
    2 neither a creditor on TWC’s books and records nor a disclosed claimant with asserted
    3 claims against TWC or its officers and directors. A debtor “does not have a ‘duty to
    4 search out each conceivable or possible creditor,’” and a search beyond examination
    5 of “the debtor’s own books and records . . .[is] generally not required.” Chemetron,
    6 72 F.3d at 346. Plaintiff was, at most, a potential future claimant, like the plaintiff in
    7 DePippo, who had not “communicated any intention of making a claim” prior to the
    8 approval of the Plan. DePippo, 335 B.R. at 297. As such, Plaintiff was an “unknown
    9 creditor” entitled only to publication notice, in a case that garnered widespread and
  10 unrelenting national (indeed, international) coverage. Id.8
  11 III.       CONCLUSION
  12            For each of the foregoing reasons, the Dolan Defendants respectfully request
  13 that the Court dismiss the FAC with prejudice, as Plaintiff has already revised her
  14 claims twice and any further amendment would be futile.
  15
       8
           Plaintiff also argues that the publication notice provided in the TWC Bankruptcy “was
  16 inadequate” because it was not published in a “national newspaper” and failed to sufficiently
  17 convey “the required information.” (Opp. at 21.) This argument is unfounded and
       intentionally misleading. As Plaintiff’s attorneys know (as they were counsel for certain
  18 claimants in the TWC Bankruptcy proceedings), publication notice in the TWC Bankruptcy
  19 extended far beyond notices placed in Variety, The Hollywood Reporter, and the NY Post,
       and included (a) banner notices in online publications and social media websites intended to
  20   provide over 57 million impressions and (b) listings on major search engines that directed
       internet users to an informational “claims and noticing website.” (See Exhibit A hereto
  21   (“Decl. of Brad Tuttle”).) This comprehensive “Notice Program” was approved by the
  22   Bankruptcy Court over objections lodged by Plaintiff’s present counsel. (See Exhibits B and
       C hereto.) Moreover, there was nothing deficient about the content of the publication notices,
  23   which included, inter alia, capitalized and bolded text explaining that sections of the Plan
       “CONTAIN CHANNELING INJUNCTION, RELEASE, INJUNCTION AND
  24
       EXCULPATION PROVISIONS” that potentially bar “SEXUAL MISCONDUCT
  25   CLAIMS” against TWC’s “FORMER DIRECTORS AND OFFICERS” and provided
       notice of an objection deadline. (Doc. No. 56-3, at 3, 4, 6, 7.) Plaintiff’s attempt to have this
  26   Court, in effect, sit as an appellate tribunal to reverse the notice procedure previously
  27   litigated before and authorized by the Bankruptcy Court should be rejected.

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Case 2:24-cv-00371-PA-AGR Document 58 Filed 05/20/24 Page 18 of 19 Page ID #:936




    1 DATED: May 20, 2024                    Respectfully submitted,
    2
                                             PERRY LAW
    3
                                             By:         /s/ E. Danya Perry
    4
                                                   E. Danya Perry
    5                                              Karen Agnifilo
    6                                              Joshua Stanton
                                                   Attorneys for Defendants James Dolan and JD
    7                                              & The Straight Shot, LLC
    8
                                             By:         /s/ John J. Rosenberg
    9                                              John J. Rosenberg
                                                   ROSENBERG, GIGER & PERALA, P.C.
  10                                               Attorneys for Defendants James Dolan and JD
  11                                               & The Straight Shot, LLC

  12
  13                                         By:         /s/ Robert E. Dugdale
                                                   Robert E. Dugdale
  14                                               Michael J. McCarthy
  15                                               KENDALL BRILL & KELLY
                                                   Attorneys for Defendants James Dolan and JD
  16                                               & The Straight Shot, LLC
  17
  18                                          ATTESTATION
  19
                  I, Robert E. Dugdale, attest that all other signatories listed, and on whose
  20
        behalf the filing is submitted, concur in the filing’s content and have authorized the
  21
        filing.
  22
  23                                         By:        /s/ Robert E. Dugdale
  24                                               Robert E. Dugdale

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Case 2:24-cv-00371-PA-AGR Document 58 Filed 05/20/24 Page 19 of 19 Page ID #:937




    1                           CERTIFICATE OF COMPLIANCE
    2            The undersigned, counsel of record for the Dolan Defendants, certifies that
    3 this brief contains 4,135 words, which complies with the word limit of Local Rule
    4 11-6.1.
    5
    6 DATED: May 20, 2024                     By:        /s/ Robert E. Dugdale
    7                                                              Robert E. Dugdale
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